      Case: 1:18-cr-00111-SJD Doc #: 9 Filed: 08/01/18 Page: 1 of 2 PAGEID #: 20

                                    United States District Court
                                     Southern District of Ohio
                                      __________________

                                   Related Case Memorandum
                                         Criminal Cases

TO:             Judge Black, Judge Dlott

FROM:           Janet McLemore                 , Deputy Clerk

DATE:           7/31/18

SUBJECT:        Case Caption:    USA v. Tracey Couch

CASE:           Case Number:     1:18cr111

DISTRICT JUDGE:                  Judge Black

                                 File Date:    7/27/18


This memorandum is to notify you that the defendant information sheet on the above referenced
case reflects the following alleged related case(s):

Related Case(s):

Case Caption:         USA v. Nilesh Jobalia

Case Number:          1:18cr87                           District Judge:     Dlott

File Date:            6/21/18                            Magistrate Judge:



Related Case(s):

Case Caption:

Case Number:                                             District Judge:

File Date:                                               Magistrate Judge:
       Case: 1:18-cr-00111-SJD Doc #: 9 Filed: 08/01/18 Page: 2 of 2 PAGEID #: 21

Memo Re: Related Criminal Cases
Page 2



The District Judges having conferred, we respond to Deputy Clerk                  Janet McLemore
as follows:

Judges’ Response:




                    We agree that the cases are not related and that the subject case should remain
                    with the Judge to whom it is assigned.

                    We agree that the cases are related and that the subject case should be
                    transferred to the docket of Judge     Dlott

                    We agree that although the cases are related, the subject case nevertheless should
                    remain with the Judge to whom it was assigned.

                    We are unable to agree and will accept any decision made by the Chief Judge.

                    I am the Judge on both/all of the listed cases and have determined that the cases
                    are not related.

                    I am the Judge on both/all of the listed cases and have determined that the cases
                    are related and they shall both/all remain on my docket.

                    Other Direction of Judge: _____________________________________________

                    __________________________________________________________________


                                                     s/ Timothy S. Black
                                                  United States District Judge


                                                   S/Susan J. Dlott
                                                  United States District Judge



                                                  United States District Judge




cc: Courtroom Deputies

Revised 9/14/2012
